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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                            GREENWOOD DIVISION

    UNITED STATES OF AMERICA                 CR. NO.:     8:18-412

                  v.

    CATHERINE PROSSER

                       Motion for Reciprocal Discovery
                        On Behalf of the United States

        The United States, by and through its undersigned Assistant

United States Attorney, respectfully moves that this Honorable

Court direct the defendant to make available for inspection and

copying each of the following:

        A.   Pursuant to FED. R. CRIM. P. 26.2 and United States v.

Nobles, 422 U.S. 225 (1975):

             All prior statements in the possession of the
        defendant, if any, given by witnesses whom the defendant
        expects to call at trial, other than the defendant
        herself. The term "statements" is to be construed by
        the defendant the same as defined in Fed. R. Crim. P.
        26.2 (effective December 1, 1980) and the Jencks Act,
        18, U.S.C. §3500 1.

        B.   Pursuant to FED. R. CRIM. P. 16(b)(1)(A):

             All books, papers, documents, photographs, tangible
        objects, or copies or portions thereof, which are within
        the possession, custody, or control of the defendant and
        which the defendant intends to introduce as evidence in
        chief at trial.


1
 Although the authority cited herein does not require the
production of statements until after the witness has testified,
the Government respectfully requests early disclosure,
commensurate with the Government’s practice of early disclosure
of statements, memoranda of interviews and other discovery.
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    C.    Pursuant to FED. R. CRIM. P. 16(b)(1)(B):

          Any results or reports of physical or mental
     examinations and of scientific tests or experiments made
     in connection with this particular case, or copies
     thereof, as well as the names and/or opinions of any
     such experts conducting tests or experiments or
     examinations, within the possession or control of the
     defendant, which the defendant intends to introduce as
     evidence in chief at the trial or which were prepared by
     a witness whom the defendant intends to call at the trial
     when the results or reports relate to their testimony.

     D.   Pursuant to FED. R. CRIM. P. 16(b)(1)(C):

          A written summary of testimony the defendant
    intends to use under FED. R. EVID. 702, 703 and 705 as
    evidence at trial.   The government requests that this
    summary describe the opinions of the witness(es), the
    basis   and  reasons   of  such   opinion(s)  and  the
    qualifications of the witness(es).


                                Respectfully submitted,


                                       SHERRI A. LYDON
                                       UNITED STATES ATTORNEY




                                 By: s/Julius N. Richardson
                                     Julius N. Richardson (#9823)
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UNITED STATES OF AMERICA                     CR. NO.:    8:18-412

                v.

CATHERINE PROSSER

                     Certification Pursuant to Local
                     Rule 12.02 by the United States

     Pursuant to Rule 12.02, Local Rules for the District of South

Carolina, the United States certifies that, because of the nature

of   the   attached      motion    (Motion      for   Reciprocal     Discovery)

consultation with counsel for the defendant would serve no useful

purpose.


                                         SHERRI A. LYDON
                                         UNITED STATES ATTORNEY




                                   By: s/Julius N. Richardson
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June 12, 2018
